Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 1 of 24 PageID #: 5174




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION



IMMERSION CORPORATION,
                                             Case No. 2:17-CV-00572-JRG
                     Plaintiff,                LEAD CASE

            v.                               Case No. 2:18-cv-00055-JRG
SAMSUNG ELECTRONICS AMERICA, INC.;
SAMSUNG ELECTRONICS CO., LTD.                JURY TRIAL DEMANDED
                     Defendants.



    IMMERSION CORPORATION’S MOTIONS IN LIMINE NOS. 1 THROUGH 9
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 2 of 24 PageID #: 5175
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 3 of 24 PageID #: 5176




                                             TABLE OF AUTHORITIES

                                                                                                                         Page(s)

Cases

Aylus Networks, Inc. v. Apple Inc.,
   856 F.3d 1353 (Fed. Cir. 2017)..................................................................................................2

Bio-Tech. Gen. Corp. v. Genentech, Inc.,
   80 F.3d 1553 (Fed. Cir. 1996)....................................................................................................3

Bruce v. Ancra Int’l, LLC,
   2018 U.S. Dist. LEXIS 62115 (E.D. Louisiana, April 12, 2018) ............................................13

Carnegie Mellon Univ. v. Marvell Tech. Grp., Ltd.,
   807 F.3d 1283 (Fed. Cir. 2015)..................................................................................................3

Commonwealth Sci. & Indus. Research Org. v. Cisco Sys. Inc.,
  809 F.3d 1295 (Fed. Cir. 2015)................................................................................................15

ContentGuard Holdings, Inc. v. Amazon.com, Inc.,
   No. 2:13-CV-01112-JRG, 2015 WL 11089489 (E.D. Tex. Aug. 24, 2015)............................13

ContentGuard Holdings, Inc. v. Amazon.com, Inc.,
   No. 2:13-cv-01112-JRG, ECF No. 897, slip op. (E.D. Tex. Sep. 3, 2015) ...............................1

Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc.,
   No. 2:14-CV-00912-JRG, ECF No. 108, slip op. (E.D. Tex. Feb. 21, 2019)........................5, 7

Core Wireless Licensing S.A.R.L. v. LG Elecs. Inc.,
   No. 2:14-cv-911-JRG-RSP, ECF No. 519, slip op. (E.D. Tex. July 12, 2016) .........................1

Core Wireless Licensing S.A.R.L. v. LG Elecs. Inc.,
   No. 2:14-cv-911-JRG-RSP, ECF No. 563, slip op. (E.D. Tex. Sept. 8, 2016) ..........................1

CoreLogic Info. Sols., Inc. v. Fiserv, Inc.,
   No. 2:10-CV-132-RSP, 2012 WL 4761739 (E.D. Tex. Sept. 20, 2012) ...................................8

Costa v. Desert Palace, Inc.,
   299 F.3d 838 (9th Cir. 2002) .....................................................................................................5

EEOC v. Serv. Temps,
  2010 U.S. Dist. LEXIS 40063 (N.D. Tex., April 22, 2010) ....................................................12




                                                                  ii
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 4 of 24 PageID #: 5177




                                                  TABLE OF AUTHORITIES
                                                        (continued)
                                                                                                                                     Page(s)

Elbit Sys. Land & C4I Ltd. v. Hughes Network Sys., LLC,
   No. 2:15-CV-00037-RWS-RSP, ECF No. 450, slip op. (E.D. Tex. July 25,
   2017) ........................................................................................................................................11

Ericsson, Inc. v. D-Link Sys., Inc.,
   773 F.3d 1201 (Fed. Cir. 2014)................................................................................................14

Flexuspine, Inc. v. Globus Medical, Inc.,
   Case No. 6:15-cv-201, ECF No. 145 (E.D. Tex. July 6, 2016) .................................................8

Genband US LLC v. Metaswitch Networks Corp.,
   No. 2:14-cv-33-JRG-RSP, ECF No. 370, slip op. (E.D. Tex. Sept. 30, 2015) ..........................3

HTC Corp. v. Telefonaktiebolaget LM Ericsson,
  No. 6:18-CV-00243-JRG, ECF No. 447, slip op. (E.D. Tex. Feb. 8, 2019)..............................6

Implicit, LLC v. Trend Micro, Inc.,
   No. 6:16-CV-00080-JRG, ECF No. 253, slip op. (E.D. Tex. Oct. 3, 2017) ..........................5, 7

Intellectual Ventures I LLC v. T Mobile USA, Inc.,
    No. 2:17-CV-577-JRG, ECF No. 297 (E.D. Tex. Jan. 3, 2019) ............................................5, 7

Intellectual Ventures I LLC v. T Mobile USA,
    No. 2:17-CV-00577-JRG, ECF No. 294, slip op. (E.D. Tex. Jan. 8, 2019) ................1, 5, 9, 10

Johnson & Johnston Associates Inc. v. R.E. Service Co.,
   285 F.3d 1046 (Fed. Cir. 2002)..................................................................................................9

KAIST IP US LLC v. Samsung Elecs. Co.,
   No. 2:16-cv-01314-JRG-RSP, ECF No. 416, slip op. (E.D. Tex. May 2, 2018)...............2, 3, 9

Kolcraft Enterprises, Inc. v. Chicco USA, Inc.,
   No. 01:09-cv-03339, ECF No. 343, slip op. (N.D. Ill. July 16, 2018) ......................................2

McGautha v. Jackson County, Mo., Collections Dept.,
  36 F.3d 53 (8th Cir. 1994) .........................................................................................................5

Network-1 Techs., Inc. v. Alcatel-Lucent USA, Inc.,
   No. 6:11-cv-492-RWS-KNM, 2017 U.S. Dist. LEXIS 154435 (E.D. Tex.
   Sept. 21, 2017) ...................................................................................................................14, 15




                                                                       iii
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 5 of 24 PageID #: 5178




                                                  TABLE OF AUTHORITIES
                                                        (continued)
                                                                                                                                     Page(s)

Packet Intelligence LLC v. Netscout Sys., Inc.,
   No. 2:16-cv-230-JRG, ECF No. 228, slip op. (E.D. Tex. Sep. 29, 2017) .........................5, 6, 9

Parthenon Unified Memory Architecture LLC v. Apple, Inc.,
   No. 2:15-cv-621-JRG-RSP, ECF No. 246, slip op. (E.D. Tex. Sept. 21, 2016) ......................10

Perdiemco, LLC v. Industrack LLC,
   No. 2:15-CV-00727-JRG-RSP, ECF No. 250, slip op. (E.D. Tex. Oct. 13,
   2016) ........................................................................................................................................11

Pers. Audio, LLC v. Apple, Inc.,
   No. 9:09CV111, 2011 WL 6148587 (E.D. Tex. June 16, 2011) .............................................12

Red Rock Analytics, LLC v. Samsung Elecs. Co., Ltd.,
   No. 2:17-cv-101-RWS-RSP, ECF No. 243, slip op. (E.D. Tex. Mar. 13, 2019) .....................14

Red Rock Analytics, LLC v. Samsung Electronics Co., Ltd., et al.,
   Case No. 2:17-cv-101 (E.D. Tex., March 14, 2019)................................................................10

Rembrandt Wireless Techs., LP v. Samsung Elecs. Co., Ltd.,
   No. 2:13-cv-213-JRG-RSP, ECF No. 225, at 83:2-21 (E.D. Tex. Jan. 22,
   2015) ........................................................................................................................................13

Rembrandt Wireless Techs., LP v. Samsung Electronics Co.,
   No. 2:13-CV-213-JRG-RSP, ECF No. 248, slip op. (E.D. Tex. Jan. 30. 2015) ................10, 13

ResQNet.com, Inc. v. Lansa, Inc.,
   594 F.3d 860 (Fed. Cir. 2010)....................................................................................................8

Saint Lawrence Communications LLC v. Motorola Mobility LLC,
   Case No. 2:15-cv-00349-JRG, ECF No. 442, slip op. (E.D. Tex., Feb. 21,
   2017) ........................................................................................................................................12

Semcon IP Inc. v. Huawei Device USA Inc.,
   No. 2:16-cv-00437-JRG-RSP, ECF No. 290, slip op. (E.D. Tex. Dec. 15,
   2017) ........................................................................................................................................10

Smartflash LLC v. Apple Inc.,
   No. 6:13-cv-447-JRG-KNM, 2015 U.S. Dist. LEXIS 179336 (E.D. Tex. Jan.
   29, 2015) ..................................................................................................................................14




                                                                        iv
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 6 of 24 PageID #: 5179




                                                 TABLE OF AUTHORITIES
                                                       (continued)
                                                                                                                                  Page(s)

St. Lawrence Commc’ns LLC v. ZTE Corp.,
    No. 2:15-cv-349, ECF No. 458 (E.D. Tex. Mar. 2, 2017) .......................................................14

Texas Pig Stands, Inc. v. Hard Rock Cafe Int’l, Inc.,
   951 F.2d 684 (5th Cir. 1992) .....................................................................................................5

Zenith Elecs. Corp. v. PDI Comm. Sys. Inc.,
   522 F.3d 1348 (Fed. Cir. 2008)............................................................................................9, 10

ZiiLabs, Inc. v. Samsung Elecs. Co.,
    No. 2:14-cv-203-JRG-RSP, ECF No. 455, slip op. (E.D. Tex. Oct. 28, 2015) .........................2

Other Authorities

Fed. R. Civ. P. 26 ...........................................................................................................................12

Fed. R. Civ. P. 37(c) ......................................................................................................................12

Fed. R. Evid. 401 ...........................................................................................................................13

Fed. R. Evid. 402 ...........................................................................................................3, 5, 6, 7, 13

Fed. R. Evid. 403 ...........................................................................................................3, 5, 6, 7, 13




                                                                       v
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 7 of 24 PageID #: 5180



       Plaintiff Immersion Corporation moves in limine to exclude argument, testimony, and

evidence relating to the following nine topics.

I.     MOTION IN LIMINE NO. 1 TO EXCLUDE ANY EVIDENCE OF OR
       ARGUMENT ABOUT IPR PROCEEDINGS

       Immersion seeks the standard limine this Court issues—and that many parties agree to—

to exclude argument and evidence regarding ongoing Inter Partes Review proceedings.

Specifically, during the pendency of this action, Samsung has filed numerous petitions for IPR,

some of which to date are not instituted and none of which have reached final decision.

(IPR2018-01467, IPR2018-01468, IPR2018-01469, IPR2018-01470, IPR2018-01499, IPR2018-

01500, IPR2018-01501, and IPR2018-01502.) These proceedings are not relevant to the issues

to be decided by the jury, and any limited probative value would be substantially outweighed by

the danger of jury confusion and unfair prejudice to Immersion—a danger specifically avoided

by many past decisions of this Court on this very issue. See, e.g., Core Wireless Licensing

S.A.R.L. v. LG Elecs. Inc., No. 2:14-cv-911-JRG-RSP, ECF No. 519, slip op. at 4 (E.D. Tex. July

12, 2016) (“The parties may not refer to the existence, pendency, or outcome of post-grant

proceedings at the USPTO”), report and recommendation adopted, ECF No. 563, slip op. at 1

(E.D. Tex. Sept. 8, 2016); ContentGuard Holdings, Inc. v. Amazon.com, Inc., No. 2:13-cv-

01112-JRG, ECF No. 897, slip op. at 2 (E.D. Tex. Sep. 3, 2015) (precluding the parties from

“any argument, evidence, testimony, insinuation, reference, or assertion to post-issuance PTO

proceedings of [patentee’s] patents”); cf. Intellectual Ventures LLC v. T Mobile USA, Inc., No.

2:17-CV-00577-JRG, ECF No. 294 slip op. at 2 (E.D. Tex. Jan. 8, 2019) (“Any Party that wishes

to talk about the PTAB or IPR proceedings in any way must first approach the bench”).

       During meet and confer, the only purported relevance identified by Samsung was to

claim interpretation. However, this is manifestly not an issue for the jury. While “statements




pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 8 of 24 PageID #: 5181



made by a patent owner during an IPR proceeding can be relied on to support a finding of

prosecution disclaimer during claim construction,” Aylus Networks, Inc. v. Apple Inc., 856 F.3d

1353, 1359 (Fed. Cir. 2017), claim construction is not an issue for the jury, and the Court has

already issued a claim construction order. Courts in this district have rejected similar arguments

from Samsung in other cases for this reason. See, e.g., KAIST IP US LLC v. Samsung Elecs. Co.,

No. 2:16-cv-01314-JRG-RSP, ECF No. 416, slip op. at 3-4 (E.D. Tex. May 2, 2018) (rejecting

arguments made in Samsung’s bench memorandum on “prosecution history estoppel” because

“proving infringement” and “proving invalidity” are “not . . . decision[s] on whether Defendants’

prosecution history arguments or evidence may be presented to the jury”); see also ZiiLabs, Inc.

v. Samsung Elecs. Co., No. 2:14-cv-203-JRG-RSP, ECF No. 455, slip op. at 1 (E.D. Tex. Oct.

28, 2015) (granting motion in limine, as the use of the prosecution history to argue the meaning

of claim language in front of the jury “carries the risk that the jury will give it undue weight

because it is part of the intrinsic record”). Other district courts are in accord. See, e.g., Kolcraft

Enterprises, Inc. v. Chicco USA, Inc., No. 01:09-cv-03339, ECF No. 343, slip op. at 3 (N.D. Ill.

July 16, 2018) (precluding argument relating to prosecution histories “because the Court has

decided the claim constructions, so the jury is not going to re-do those”).

       The Court therefore should exclude all evidence or argument relating to the ongoing IPR

proceedings.

II.    MOTION IN LIMINE NO. 2 TO EXCLUDE INTRODUCTION INTO EVIDENCE
       OR PUBLICATION TO THE JURY OF ANY OF SAMSUNG’S PATENTS

       The Court should preclude argument or evidence relating to Samsung’s patents,

particularly those having to do with haptic feedback. Samsung is not relying on any of its own

patents as prior art. Yet Samsung indicated during meet and confer that it may present testimony

or other evidence at trial regarding its own patents, and specifically, that it has patents allegedly



                                                   2
pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 9 of 24 PageID #: 5182



within the same technological space as Immersion’s asserted patents. Such argument and

evidence has very minimal, if any, relevance, and has a very high risk of confusing the jury, for

example, by inviting the improper inference that just because Samsung has patents it somehow

cannot or should not be liable for patent infringement. See Fed. R. Evid. 402 & 403.

       Obtaining patents of one’s own is not a defense to patent infringement. See, e.g., Bio-

Tech. Gen. Corp. v. Genentech, Inc., 80 F.3d 1553, 1559 (Fed. Cir. 1996). Nor is it a good-faith

basis for a belief that one does not infringe. See, e.g., Carnegie Mellon Univ. v. Marvell Tech.

Grp., Ltd., 807 F.3d 1283, 1301 (Fed. Cir. 2015). Even if Samsung does not overtly draw this

link, there can be no reason for Samsung to be telling the jury it has patents in the same space,

except on the hope that it will cause this very conclusion in the jury’s mind. For these reasons,

courts in the Eastern District of Texas frequently preclude references to a defendant’s

patents. See, e.g., KAIST IP US, ECF No. 416, slip op. at 1-2 (precluding argument “[t]hat

Defendants cannot infringe because they have their own patents” or that “the Accused

Instrumentalities practice other patents”); Genband US LLC v. Metaswitch Networks Corp., No.

2:14-cv-33-JRG-RSP, ECF No. 370, slip op. at 8 (E.D. Tex. Sept. 30, 2015) (precluding

“evidence or argument related to any . . . patent or patent application” owned by the defendant).

       Nor is there any argument that Samsung’s patents are relevant to damages or any other

issue in this case. Samsung’s technical expert Dr. Wolfe lists a handful of Samsung patents

related to haptic technology in his non-infringement report. (See Ex. 1 at ¶¶ 58-61.) Dr. Wolfe

provides no analysis comparing any claim of any of these patents to the accused devices, nor

does he rely on any as a prior art reference. (Id.) He briefly notes these patents only to support

the proposition that “Samsung has made its own significant contributions to the haptics

technology space over the years.” (See id.) But, of course, this is not a fact relevant to any




                                                 3
pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 10 of 24 PageID #: 5183
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 11 of 24 PageID #: 5184




                                                                          . Immersion




                                                                                    . During meet

 and confer, Samsung could identify no purported relevance of these proceedings to the facts to

 be decided by the jury. Instead, Samsung took the position that all “background” of the parties is

 properly before the jury.

        Samsung’s position is contrary to the Federal Rules and the law of this district. Evidence

 and argument relating to prior disputes is frequently excluded under Rules 402 and 403 because

 of its ability to confuse the issues and mislead the jury. See, e.g., Texas Pig Stands, Inc. v. Hard

 Rock Cafe Int’l, Inc., 951 F.2d 684, 690 n.7 (5th Cir. 1992) (affirming exclusion of evidence and

 testimony relating to prior litigation); McGautha v. Jackson County, Mo., Collections Dept., 36

 F.3d 53, 57 (8th Cir. 1994) (affirming exclusion of evidence relating to earlier arbitration

 between the parties); Costa v. Desert Palace, Inc., 299 F.3d 838, 863 (9th Cir. 2002) (same). For

 this reason, this Court routinely grants motions in limine precluding reference to prior

 proceedings or different litigation between the parties. See, e.g., Intellectual Ventures, No. 2:17-

 CV-577-JRG, ECF No. 297 at 175:6-22 (E.D Tex. Oct. 3, 2017) (granting motion in limine to

 exclude evidence of prior litigation between parties); Core Wireless, No. 2:14-CV-00912-JRG,

 ECF No. 108, slip op. at 3 (precluding references to foreign litigation between the parties);

 Implicit, LLC v. Trend Micro, Inc., No. 6:16-CV-00080-JRG, ECF No. 253, slip op. at 5

 (precluding reference to “prior orders of other tribunals”); Packet Intelligence LLC v. Netscout




                                                  5
 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 12 of 24 PageID #: 5185
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 13 of 24 PageID #: 5186



                                               . The TFT lawsuit against Samsung proceeded until

 Samsung and TFT                                                                                  .

 Immersion had no involvement                      . In July 2016,




        Re-hashing the ins and outs of this now-settled legal dispute between Samsung and a

 third party sheds no light on whether any fact of consequence in this action is more or less likely.

 It only risks confusing the jury as to the issues in the present case, and would unduly complicate

 and lengthen these proceedings. As discussed in MIL No. 3, this Court often excludes evidence

 and testimony about prior litigation between parties as irrelevant and prejudicial under Fed.

 Rules of Evid. 402 and 403. See, e.g., Intellectual Ventures, ECF No. 297 at 175:6-22 (E.D. Tex.

 Jan. 3, 2019) (granting motion in limine to exclude evidence of prior litigation between parties);

 Core Wireless, ECF No. 108, slip op. at 3 (precluding references to foreign litigation between the

 parties); Implicit, ECF No. 253, slip op. at 5 (precluding reference to “prior orders of other

 tribunals”). Here, this principle applies with greater force as the TFT case was not even

 litigation between the parties but rather between Samsung and a third party.

        Samsung apparently intends to argue and offer expert testimony from its damages expert

 Christopher Bakewell that this previous, unrelated patent suit between Samsung and TFT is

 somehow relevant to the hypothetical negotiation. This contention is not well taken. As to the

                                                       , Mr. Bakewell does not take into account in

 any way how                                                                         would or could

 have impacted the bargaining dynamics between the parties. (See Ex. 2 at ¶ 279 (sole mention in




                                                  7
 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 14 of 24 PageID #: 5187



 report of                                                                         , with no

 additional analysis).)

        As to the                                            TFT and Samsung, it is not relevant

 and admissible for proving a reasonable royalty. The opinions of Samsung’s damages expert

 regarding the                             are subject to a pending Daubert motion. (ECF Nos.

 112, 131.) As explained in that motion, Mr. Bakewell’s analysis of the                   fails to

 make any adjustments to make the license comparable to the hypothetical negotiation even

 though it involves different parties, different patents, and was a settlement. E.g. ResQNet.com,

 Inc. v. Lansa, Inc., 594 F.3d 860, 870–73 (Fed. Cir. 2010) (court erred by considering licenses

 without “factual findings that accounted for the technological and economic differences between

 those licenses and the [patent in suit]”); Flexuspine, Inc. v. Globus Medical, Inc., Case No. 6:15-

 cv-201, ECF No. 145 at 8 (E.D. Tex. July 6, 2016) (striking portions of damages report relying

 on non-comparable settlement agreement). Courts grant in limine motions to exclude licenses

 that are not comparable to the hypothetical negotiation. CoreLogic Info. Sols., Inc. v. Fiserv,

 Inc., No. 2:10-CV-132-RSP, 2012 WL 4761739, at *2 (E.D. Tex. Sept. 20, 2012) (granted-in-

 part motion in limine to exclude evidence of license and settlement agreements that are not

 comparable to the hypothetical negotiation).

        Samsung should not be permitted to distract the jury with an irrelevant and confusing

 discussion of unrelated litigation. The                            and the details of the TFT

 lawsuit should be excluded, including at least DTX-080 (correspondence with Immersion

 regarding lawsuit), DTX-197 through DTX-199 (correspondence with Immersion regarding

 lawsuit), DTX-204 (Samsung and TFT                            ), DTX-266 (Bakewell Ex. 8

 (calculating damages relying on TFT                         )), DTX-397 (TFT’s complaint),




                                                  8
 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 15 of 24 PageID #: 5188



 DTX-434 (May 17, 2015 order granting motion to amend docket control order), DTX-438 (Dec.

 17, 2014 order granting motion to amend docket control order), DTX-440 (claim construction

 hearing transcript), DTX-772 (correspondence between parties), DTX-794 (correspondence

 between parties), and any other materials or testimony related to TFT.

 V.     MOTION IN LIMINE NO. 5 TO EXCLUDE COMPARISONS BY SAMSUNG OF
        THE ACCUSED PRODUCTS TO ANY PREFERRED EMBODIMENT (AS
        OPPOSED TO THE ASSERTED CLAIMS)

        Samsung should be precluded from presenting argument or evidence comparing the

 accused products to preferred embodiments of the patents-in-suit. The Federal Circuit has

 repeatedly emphasized that “[i]nfringement, either literally or under the doctrine of equivalents,

 does not arise by comparing the accused product ‘with a preferred embodiment described in the

 specification, or with a commercialized embodiment of the patentee.’” Johnson & Johnston

 Associates Inc. v. R.E. Service Co., 285 F.3d 1046, 1052 (Fed. Cir. 2002) (quoting SRI Int’l v.

 Matsushita Elec. Corp., 775 F.2d 1107, 1121 (Fed. Cir. 1985)). For this reason, courts in the

 Eastern District of Texas repeatedly grant motions in limine prohibiting “[c]omparing accused

 products to preferred embodiments of the patents.” KAIST IP, ECF No. 416, slip op. at 2; see

 also Intellectual Ventures, ECF No. 294, slip op. at 2 (Jan. 8, 2019) (granting motion in limine to

 exclude “any comparison of [defendant’s] product to anything other than the asserted claims to

 prove infringement”).

 VI.    MOTION IN LIMINE NO. 6 TO EXCLUDE ANY ARGUMENT OR EVIDENCE
        REGARDING COMPARISON OF THE ACCUSED PRODUCTS TO THE PRIOR
        ART

        Samsung should not be able to introduce evidence or testimony comparing the accused

 products to the prior art. Samsung was unable to identify during meet and confer any alleged

 relevance or purported need to do so, and there is none. It is well established that there is no

 “practicing the prior art” defense to infringement. See, e.g., Zenith Elecs. Corp. v. PDI Comm.


                                                  9
 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 16 of 24 PageID #: 5189



 Sys. Inc., 522 F.3d 1348, 1363 (Fed. Cir. 2008) (noting that even “proof that the prior art is

 identical, in all material respects, to an allegedly infringing product cannot constitute clear and

 convincing evidence of invalidity”). Accordingly, this Court routinely grants motions in limine

 directed at precluding such improper comparisons. See, e.g., Packet Intelligence LLC v.

 Netscout Sys., Inc., No. 2:16-cv-230-JRG, ECF No. 228, slip op. at 3 (E.D. Tex. Sept. 29, 2017);

 see also Semcon IP Inc. v. Huawei Device USA Inc., No. 2:16-cv-00437-JRG-RSP, ECF

 No. 290, slip op. at 3 (E.D. Tex. Dec. 15, 2017); Parthenon Unified Memory Architecture LLC v.

 Apple, Inc., No. 2:15-cv-621-JRG-RSP, ECF No. 246, slip op. at 3 (E.D. Tex. Sept. 21, 2016);

 Rembrandt Wireless Techs., LP v. Samsung Electronics Co., No. 2:13-CV-213-JRG-RSP, ECF

 No. 248, slip op. at 8 (E.D. Tex. Jan. 30. 2015).

 VII.   MOTION IN LIMINE NO. 7 TO PROHIBIT INTRODUCTION INTO EVIDENCE
        OR PUBLICATION OF NON-CHARTED PRIOR ART

        As discussed in Immersion’s motion to strike, Dkt. 111, Samsung improperly and

 belatedly introduced argument based upon an uncharted patent (on which its technical expert, Dr.

 Wolfe, is a named inventor). During the meet-and-confer process relating to these motions in

 limine, Samsung declined to state whether it intended to show other uncharted prior art to the

 jury or to provide any relevance argument for doing so. Accordingly, Immersion requests that

 the Court preclude any publication, introduction into evidence, or substantive discussion of any

 uncharted prior art references (including the Wolfe reference and any as-yet unidentified,

 uncharted references) before the jury. As this Court has acknowledged, anything “more than a

 passing reference [to uncharted prior art] may result in jury confusion . . . .” Intellectual

 Ventures, ECF No. 294, slip op. at 4. And other decisions in the Eastern District of Texas have

 reached the same result for the same reasons. See, e.g., Red Rock Analytics, LLC v. Samsung

 Electronics Co., Ltd., et al., Case No. 2:17-cv-101 (E.D. Tex., March 14, 2019) (refusing to



                                                  10
 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 17 of 24 PageID #: 5190



 allow uncharted prior art to be admitted as evidence or used as a demonstrative due to prejudice

 from risk of confusion); Elbit Sys. Land & C4I Ltd. v. Hughes Network Sys., LLC, No. 2:15-CV-

 00037-RWS-RSP, ECF No. 450, slip op. at 2 (E.D. Tex. July 25, 2017) (“Defendant is precluded

 from relying on uncharted prior art to prove invalidity by demonstrating that uncharted prior art

 discloses or suggests elements of the asserted claims. Defendant is also precluded from

 introducing uncharted prior art as an exhibit and displaying uncharted prior art as a

 demonstrative . . . .”); see also Perdiemco, LLC v. Industrack LLC, No. 2:15-CV-00727-JRG-

 RSP, ECF No. 250, slip op. at 2 (E.D. Tex. Oct. 13, 2016) (same).

 VIII. MOTION IN LIMINE NO. 8 TO EXCLUDE NON-INFRINGEMENT EVIDENCE
       AND ARGUMENT BASED ON FACTS NOT INCLUDED IN SAMSUNG’S
       RESPONSE TO NON-INFRINGEMENT CONTENTION INTERROGATORY

        Immersion seeks an in limine order holding Samsung to its non-infringement contentions

 and ensuring that Samsung does not make non-infringement arguments based on facts not set out

 in Samsung’s response to Interrogatory No. 6. Immersion believes that Samsung will attempt to

 do so based on new facts in the report of Samsung’s non-infringement expert Dr. Wolfe.

        On January 16, 2018, Immersion propounded Interrogatory No. 6 on Samsung, asking

 Samsung to describe the factual basis for any contention by Samsung that any accused product

 does not infringe any asserted claim. (Ex. 3.) Samsung most recently supplemented its response

 to this interrogatory on December 7, 2019. (Ex. 4.) By that time Samsung had been on notice of

 Immersion’s infringement contentions for more than a year, including Immersion’s identification

 of the “two regions” in Samsung’s accused products relevant to the asserted claims of the ’846,

 ’720 and ’181 patents. Samsung’s interrogatory response did not identify any facts allegedly

 demonstrating that any claim limitation was not met. Instead, Samsung merely listed claim

 limitations that it contended it did not practice. (Ex. 4.)




                                                   11
 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 18 of 24 PageID #: 5191



         A month later, on January 16, 2019, when it served its non-infringement report and after

 Immersion served its infringement expert reports, Samsung for the first time sought to rely on

 new facts in support of a non-infringement argument. In particular, Samsung sought to contest

 the “two regions” limitations of the ’846, ’720 and ’181 patents on the ground that, according to

 Samsung,

                                   . (Ex. 1 at ¶¶ 184-186.) Samsung could have, and did not,

 disclose this alleged fact during fact discovery.

         Immersion was substantially prejudiced by Samsung’s failure to disclose these alleged

 facts in its interrogatory response, including because Immersion had no opportunity to depose

 Samsung witnesses about the alleged facts and because Immersion’s experts did not have the

 opportunity to respond to them in Immersion’s affirmative expert reports on infringement. This

 evidence therefore should be precluded under Fed. R. Civ. P. 26 and 37(c). Fed. R. Civ. P. 37(c)

 (“If a party fails to provide information or identify a witness as required by Rule 26(a) or (e), the

 party is not allowed to use that information or witness to supply evidence on a motion, at a

 hearing, or at a trial, unless the failure was substantially justified or is harmless”); see also, e.g.,

 Pers. Audio, LLC v. Apple, Inc., No. 9:09CV111, 2011 WL 6148587, at *5 (E.D. Tex. June 16,

 2011) (precluding defendant under FRCP 37(c) from relying on or discussing documents and

 objects produced after close of fact discovery); Saint Lawrence Communications LLC v.

 Motorola Mobility LLC, Case No. 2:15-cv-00349-JRG, ECF No. 442, slip op. at 2 (E.D. Tex.,

 Feb. 21, 2017) (striking expert opinions on non-infringing alternatives that were not disclosed in

 interrogatory responses); EEOC v. Serv. Temps, 2010 U.S. Dist. LEXIS 40063 at *22-28 (N.D.

 Tex., April 22, 2010) (granting in limine motion requiring plaintiff to make a showing under

 Rule 37(c) before being allowed to suggest a specific damages amount where underlying




                                                     12
 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 19 of 24 PageID #: 5192



 information was not disclosed in fact discovery); Bruce v. Ancra Int’l, LLC, 2018 U.S. Dist.

 LEXIS 62115 at *6-7 (E.D. Louisiana, April 12, 2018) (granting in limine motion to exclude

 evidence that was not disclosed in fact discovery because “[t]he presumptive sanction under Rule

 37(c)(1) for the failure to disclose is exclusion.”).

 IX.     MOTION IN LIMINE NO. 9 TO EXCLUDE EVIDENCE OR TESTIMONY
         SUGGESTING THAT AN AWARD OF DAMAGES IN THE CASE MIGHT
         DRIVE UP THE PRICE OF PRODUCTS TO END CUSTOMERS, CAUSE
         PEOPLE TO LOSE JOBS, OR HAVE OTHER SIMILAR ECONOMIC
         CONSEQUENCES

         The Court should preclude Samsung from presenting evidence or argument suggesting

 that an award of damages may drive up the price of products to end customers, cause people to

 lose jobs, or have other similar economic consequences.

         This Court has repeatedly held—and indeed many defendants (including Samsung) have

 acknowledged by agreement—evidence or argument about the impact to a Defendant’s

 employees or customers is irrelevant, and its probative value is outweighed by the danger of

 unfair prejudice, confusion of the issues, and misleading the jury. See FRE 401, 402 and 403;

 see, e.g., Rembrandt, No. 2:13-cv-213-JRG-RSP, ECF No. 225, at 83:2-21 (Jan. 22, 2015)

 (Samsung agreeing in response to Court’s question that “there won’t be any argument that a

 damage award in this case would endanger your company or negatively impact employees or

 customers” and Court stating Samsung should have no problem so long as it does not “raise the

 specter that a certain damages award in this case would threaten the financial viability of

 Samsung or negatively impact employees or customers”); Rembrandt, No. 2:13-cv-213-JRG-

 RSP, ECF No. 248, slip op. at 5 (Jan. 31, 2015) (order on limine).1


 1
   See also ContentGuard Holdings, Inc. v. Amazon.com, Inc., No. 2:13-CV-01112-JRG, 2015
 WL 11089489, at *2 (E.D. Tex. Aug. 24, 2015) (precluding evidence or argument “to the
 possible consequences of a verdict in any parties’ favor, including the possible issuance of an
 injunction, an award of enhanced damages, an award of attorney’s fees, or arguments that a


                                                   13
 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 20 of 24 PageID #: 5193



         Through the parties’ meet-and-confers, Samsung indicated they opposed this limine

 because Samsung essentially wants to make a royalty stacking argument, specifically, to argue it

 was

       . But like here, where there is no evidence of other royalties Samsung is paying or has been

 requested to pay on the accused products and there is no technical expert supporting the

 applicability of specific other patents that read on the accused products, a royalty stacking

 argument is likewise impermissible. See Red Rock Analytics, LLC v. Samsung Elecs. Co., Ltd.,

 No. 2:17-cv-101-RWS-RSP, ECF No. 243, slip op. at 2 (E.D. Tex. Mar. 13, 2019) (granting

 limine “that Samsung shall not present royalty stacking arguments”); Network-1 Techs., Inc. v.

 Alcatel-Lucent USA, Inc., No. 6:11-cv-492-RWS-KNM, 2017 U.S. Dist. LEXIS 154435, at *10-

 11 (E.D. Tex. Sept. 21, 2017) (striking damages expert’s royalty stacking arguments because

 defendant identified no specific requests or actual royalties on the accused products); see also

 Ericsson, Inc. v. D-Link Sys., Inc., 773 F.3d 1201, 1234 (Fed. Cir. 2014) (royalty stacking not an

 issue “unless the accused infringer presents actual evidence of hold-up or stacking. Certainly

 something more than a general argument that these phenomena are possibilities is necessary.”

 (emphasis added)).2



 verdict would result in (1) consumers paying more for devices; (2) the economy being negatively
 impacted; (3) an injunction or the method of use no longer being available for use; or (4) firings
 or layoffs”); St. Lawrence Commc’ns LLC v. ZTE Corp., No. 2:15-cv-349, ECF No. 458, at 2
 (E.D. Tex. Mar. 2, 2017) (granting by agreement limine covering “Suggestion that Damages
 Awards May Drive up the Price of Products, put any Manufacturers out of Business, or Cause
 Jobs to be Lost”); Smartflash LLC v. Apple Inc., No. 6:13-cv-447-JRG-KNM, 2015 U.S. Dist.
 LEXIS 179336, at * 9 (E.D. Tex. Jan. 29, 2015) (granting limine based on Apple’s representation
 it would not say, imply, or suggest that a judgment in this case or award of damages would cause
 a disruption in Apple's business or cause a burden to its operations”).
 2
   Samsung’s damages expert, Mr. Chris Bakewell, identifies five patents that result from a
 Google search and mentions Samsung’s technical experts “confirmed there are many other
 patents related to haptics besides the patents-in-suit,” but this is insufficient. Commonwealth Sci.
 & Indus. Research Org. v. Cisco Sys. Inc., 809 F.3d 1295, 1302 (Fed. Cir. 2015) (“abstract


                                                  14
 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 21 of 24 PageID #: 5194



 Dated: March 15, 2019                                Respectfully submitted,



                                                      /s/ Bryan Wilson
                                                      Bryan Wilson (CA SBN 138842)
                                                      LEAD ATTORNEY
                                                      Marc David Peters (CA SBN 211725)
                                                      Albert J. Rugo (CA SBN 306134) admitted
                                                      pro hac vice
                                                      MORRISON & FOERSTER LLP
                                                      755 Page Mill Road
                                                      Palo Alto, CA 94304
                                                      Telephone: (650) 813-5600
                                                      Facsimile: (650) 494-0792
                                                      Email: bwilson@mofo.com
                                                      Email: mdpeters@mofo.com
                                                      Email: arugo@mofo.com

                                                      Richard S. J. Hung (CA SBN 197425)
                                                      Christopher Robinson (CA SBN 260778)
                                                      MORRISON & FOERSTER LLP
                                                      425 Market Street
                                                      San Francisco, CA 94105-2482
                                                      Telephone: (415) 268-7602
                                                      Facsimile: (415) 276-7334
                                                      Email: rhung@mofo.com
                                                      Email: ChristopherRobinson@mofo.com

                                                      Morgan Chu (CA SBN 70446)
                                                      Richard Birnholz (CA SBN 151543)
                                                      IRELL & MANELLA LLP
                                                      1800 Avenue of the Stars, Suite 900
                                                      Los Angeles, CA 90067-4276
                                                      Telephone: (310) 277-1010
                                                      Facsimile: (310) 203-7199
                                                      Email: mchu@irell.com
                                                      Email: rbirnholz@irell.com


 recitations of royalty stacking theory, and qualitative testimony that an invention is valuable—
 without being anchored to a quantitative market valuation—are insufficiently reliable.”).
 Samsung has no specifically identified demands for royalty payments (see Network-1, 2017 U.S.
 Dist. LEXIS 154435, at *10-11). Nor does Mr. Bakewell even suggest the technical experts’
 statements support application of other patents to the accused products. At a minimum, a
 damages expert’s Google search and generic statements about other haptic patents is insufficient
 to allow an argument about the impact of paying Immerison royalties in this case impacting
 Samsung’s business, its employees, or its customers.


                                                15
 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 22 of 24 PageID #: 5195




                                           T. John Ward Jr.
                                           Texas Bar No. 00794818
                                           Claire A. Henry
                                           Texas Bar No. 24053063
                                           Andrea L. Fair
                                           State Bar No. 24078488
                                           WARD, SMITH &HILL, PLLC
                                           1507 Bill Owens Pkwy.
                                           Longview, TX 75604
                                           Tel: 903/757-6400
                                           Fax: 903/757-2323
                                           Email: jw@wsfirm.com
                                           Email: claire@wsfirm.com

                                           Attorneys for Plaintiff
                                           Immersion Corporation




                                      16
 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 23 of 24 PageID #: 5196




                                CERTIFICATE OF SERVICE


        I hereby certify that a copy of the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). Pursuant to Local Rule CV-5(a)(7)(D), all counsel of

 record were served with a true and cored copy of the foregoing by email on this the 15th day of

 March, 2019.

                                             /s/ Bryan Wilson
                                             Bryan Wilson


              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

      This is to certify that on January 3, 2018 this Court entered a Protective Order (Dkt. No.

 32) which authorizes filing the attached documents under seal.

                                             /s/ Bryan Wilson
                                             Bryan Wilson




 pa-1887579
Case 2:17-cv-00572-JRG Document 155 Filed 03/19/19 Page 24 of 24 PageID #: 5197



                                CERTIFICATE OF CONFERERNCE

        Pursuant to Local Rule CV-7(i), the undersigned certifies that counsel for Plaintiff has

 met and conferred with counsel for Defendants in accordance with Local Rule CV-7(h). In

 particular, counsel met and conferred regarding the substance of these motions by telephone on

 February 28, March 5, and March 8, 2019. No agreement was reached, and counsel for

 Defendants indicated that the Defendants are opposed to the relief sought in these motions. The

 discussions have conclusively ended in an impasse, leaving open issues for the court to resolve.




                                                     /s/ Bryan Wilson
                                                     Bryan Wilson




 pa-1887579
